      Case 1:25-cv-11446-ADB      Document 2     Filed 05/21/25   Page 1 of 35




                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
                           BOSTON DIVISION

Metrom Rail, LLC

            Plaintiff,
                                               No. _______
v.

Massachusetts Bay Transportation               DEMAND FOR JURY TRIAL
Authority and Piper Networks, Inc,

            Defendants.


                                  COMPLAINT

      Plaintiff, Metrom Rail, LLC (“Metrom” or “Plaintiff”), alleges the following:


                     SUBJECT MATTER JURISDICTION

      1.    This action arises, in part, under the patent laws of the United States,

Title 35 of the United States Code. This Court has subject matter jurisdiction under

28 U.S.C. §§ 1331, 1332, 1338, and 1367.


                          PERSONAL JURISDICTION

      2.    Defendant Massachusetts Bay Transportation Authority (“MBTA”), a

division of the Massachusetts Department of Transportation (“MassDOT”), “is a

political subdivision of the Commonwealth [of Massachusetts] and a body politic

and corporate” subject to general personal jurisdiction in Massachusetts. See Mass.

Bay Transp. Auth. v. City of Somerville, 883 N.E.2d 933, 935 (Mass. 2008)
      Case 1:25-cv-11446-ADB       Document 2     Filed 05/21/25    Page 2 of 35




      3.     Defendant Piper Networks, Inc. (“Piper”) is a Delaware corporation

with a headquarters in San Diego, California that is subject to specific jurisdiction

in Massachusetts under Mass. Gen. Laws Ch. 223A, § 3. Piper has purposefully

availed itself of the privileges of conducting business in the State of Massachusetts;

Piper deliberately and regularly conducts continuing and ongoing business within

the State of Massachusetts, and Metrom’s cause of action arises directly from Piper’s

business contacts and other activities in the State of Massachusetts, including at least

by virtue of Piper’s infringing systems, devices, and methods, which are at least

made, sold, practiced, and/or used in the State of Massachusetts including by the

MBTA. Further, on information and belief, Piper is subject to the Court’s

jurisdiction, including because Piper has committed patent infringement in the State

of Massachusetts.


      4.     This Court also has general jurisdiction over Piper because its contacts

with the State of Massachusetts are of a sufficient and continuing nature to warrant

the exercise of general personal jurisdiction over Piper.


                                       VENUE

      5.     Venue is proper under 28 U.S.C. §§ 1391(b)-(d) and 1400(b).


      6.     Joinder of the Defendants the MBTA and Piper (collectively,

“Defendants”) in this action is proper under 35 U.S.C. § 299 because the claims


                                           2
      Case 1:25-cv-11446-ADB         Document 2   Filed 05/21/25   Page 3 of 35




herein arise from a common nucleus of operative facts related to the same transaction

or series of transactions.


      7.      Assignment to the Boston division is proper since the MBTA is

headquartered at 10 Park Plaza, Boston, MA and Piper has engaged in the transaction

that gives rise to the causes of action in this Complaint at the MBTA headquarters

and other locations in and around the Boston division.


                                     THE PARTIES

                                        Metrom

      8.      Metrom is a pioneer in the area of decentralized train control with Ultra

Wide Band (“UWB”) technology. Founded in 2010, Metrom is an Illinois

Corporation with a headquarters in Lakemoor, Illinois.


      9.      Railroad equipment is heavy and can travel at speeds over 80 miles per

hour while pulling railcars filled with people. While generally very safe, accidents

do happen. For example, as recently as February 9, 2025, an in-service MBTA Green

Line train hit an out-of-service Green Line train in Somerville, Massachusetts. See

Asher Klein, MBTA Green Line Train Passed Stop Signal Before Crash in

Somerville,      NTSB        Says,      NBC       Bos.      (March       6,       2025),

https://www.nbcboston.com/news/local/somerville-green-line-crash-ntsb-

report/3650526/. According to the National Transportation Safety Board (“NTSB”),


                                           3
      Case 1:25-cv-11446-ADB        Document 2       Filed 05/21/25   Page 4 of 35




before the crash, the in-service train was going 32 mph in a 25 mph zone, then passed

a red signal indicating the train should stop. Id.


      10.    Metrom has developed the innovative “AURA” system and other

worker and railway equipment protection products using UWB for new and existing

rail systems. Metrom’s products are designed, built, and tested in Illinois.


      11.    Historically, railroads have implemented complex and expensive

systems to avoid accidents. Despite these systems, accidents still occur, and the

traditional suppliers of signal systems have not fielded low cost, reliable train control

systems for precisely locating and controlling commuter trains in high traffic, urban

rail environments.


      12.     In 2012, Metrom introduced its first AURA brand product and the first

commercially successful application of UWB in the railroad environment, a collision

avoidance system for railroad maintenance of way (“MOW”) vehicles.


      13.    Railroad MOW equipment is especially subject to collisions because

the equipment tends to operate in groups of small but independently powered and

operated vehicles in “work trains” with close spacing. For example, a series of

machines for performing different kinds of maintenance on the rail bed, cross ties,

and rails. Collisions are surprisingly frequent, since workers are focused on their




                                           4
      Case 1:25-cv-11446-ADB       Document 2     Filed 05/21/25   Page 5 of 35




maintenance work, sightlines on the equipment are poor or obstructed, and the

equipment is operated in close proximity with frequent starts and stops.


      14.    Metrom initially used its collision avoidance technology to solve the

problem of MOW collisions by equipping each unit with UWB radios that accurately

determine the range to the MOW vehicle ahead and automatically warns the operator

or brakes the MOW equipment if the operator does not act within a margin of safety.

Metrom filed for and obtained patents on this system, including U.S. Patents Nos.

8,812,227 and 9,043,131 (Ex. A).


      15.    Since its introduction, Metrom’s AURA system has been installed on

over 3,000 railroad maintenance vehicles in the U.S. and Canada, with overall

reductions in incidents of 90% or greater and no collisions between equipped

vehicles when the system was properly installed, maintained, and used, avoiding

countless injuries and saving millions of dollars in equipment damage.


      16.    In 2013, Metrom began exploring ways to expand its successful

collision avoidance system to the mass transit context. Urban mass transit is an

environment with some characteristics similar to the MOW environment, with close

headways and high numbers of trains. At peak periods, it is desirable for transit

agencies to allow trains to run as close together as possible.




                                          5
      Case 1:25-cv-11446-ADB       Document 2     Filed 05/21/25    Page 6 of 35




      17.    Traditional signal control for mass transit rail divided train lines into a

series of fixed track segments (“blocks”), with complex, cumbersome equipment

designed to prevent two trains from entering the same fixed section of track at the

same time. Smaller blocks allow for higher volume but each block adds additional

signals, controls, and points of failure for maintenance.


      18.    In the 1980s, systems were developed that allowed for “moving” blocks

that allowed a moving buffer region before and after a train. Only a handful of

companies in the world offer these systems for transit agencies. The offering in the

U.S. is known as “Communications Based Train Control” or CBTC. To meet safety

requirements, legacy CBTC systems employed complex networks of track side

equipment that communicated train status to a central control point, which would

communicate authority to operate to each train. The technology is subject to large

positional errors, prone to failure, and, while it is an improvement on fixed block

systems, it is very costly for even small improvements in performance. For example,

the QBL East project in New York was awarded to a supplier for $346 million

despite it being a relatively small segment of the NYCT subway system. See Ex. C

(“Piper Signal Modernization Whitepaper”) at p. 3.


      19.    To meet the need for a lower cost, reliable train control system, Metrom

extended the technology found in its AURA MOW collision avoidance system to



                                           6
      Case 1:25-cv-11446-ADB        Document 2     Filed 05/21/25    Page 7 of 35




create the AURA Train Control System. See, e.g., AURA Train Control System,

Metrom Rail, https://metrom-rail.com/AURA-TCS (last visited May 22, 2025).

Shown below are the hardware components of this system.




      20.    In this system, the AURA carborne unit in one train uses UWB

communications with AURA carborne units in other trains and wayside equipment

to identify the exact position of the train in reference to its location within a system,

along with its relative distance to other trains, signals, work zones, or other key

features.


      21.    Metrom also developed the CERTIS train localization system. CERTIS

uses Carborne and Wayside UWB modules to provide vital train position, speed,

direction of movement, consist length, and track occupancy data. See, e.g., CERTIS



                                           7
      Case 1:25-cv-11446-ADB     Document 2     Filed 05/21/25   Page 8 of 35




Train Localization System, Metrom Rail, https://metrom-rail.com/CERTIS (last

visited May 22, 2025).


      22.   Metrom applied for and secured patents directed to this novel system

including U.S. Patent No. 9,731,738 (Exhibit B).


      23.   Over time, Metrom has bid for and won several projects for train

collision avoidance systems.


      24.   Metrom frequently teams with larger integrators like Parsons

Transportation Group, Inc. (“Parsons”) and Kiewit Corporation when bidding for

projects. As part of these “Teaming Agreements,” Metrom provides the integrators

with access to the technical details of its AURA technology.


      25.   For example, when bidding for MBTA RFP 24-16, Metrom teamed

with Parsons. Parsons’ engineers, project managers, and executives were given

access to Metrom’s AURA technology. Parsons’ work with Metrom and the team’s

subsequent proposal to the MBTA were confidential under written agreements with

Parsons.


      26.   Piper Networks hired two individuals from this Parsons team and has

placed one of them as the lead Piper representative on its project for the MBTA.




                                         8
      Case 1:25-cv-11446-ADB      Document 2     Filed 05/21/25   Page 9 of 35




      27.    Metrom believes, or believes it will likely have evidentiary support

after an opportunity for discovery, that Piper used the former Parsons engineers to

develop and field its own collision avoidance system that mimics the systems

previously developed by Metrom.


      28.    In the claim charts that follow, Metrom identifies a response in the

Defendants’ systems for each limitation of each identified claim. Each row is an

allegation under Fed. R. Civ. P. 8(b)(1)(B) that must be admitted or denied.


                                  Piper Networks

      29.    Piper is incorporated in the state of Delaware and has a headquarters at

3636 Nobel Drive, Suite 300, San Diego, CA 92122.


      30.    Piper represents that it has locations in New York City, Wilmington,

DE, Dallas, TX and Atlanta, GA.


      31.    Piper holds itself out as a rail engineering solutions provider and

systems integrator specializing in the development of transportation technologies.


      32.    Piper did not enter the business of providing rail engineering solutions

and systems integration until after Metrom developed, introduced, and proved the

viability of the solutions described above.




                                          9
      Case 1:25-cv-11446-ADB     Document 2     Filed 05/21/25     Page 10 of 35




      33.    Piper implicitly acknowledged the validity of Metrom’s inventions by

filing its own patent applications well after Metrom had introduced the technology,

starting in about September of 2019.


      34.    Piper offers for sale an Automatic Train Protection-Overlay (“ATP-O”)

solution that purportedly can be added to the existing railway infrastructure and

signaling          systems.         ATP-Overlay,           Piper           Networks,

https://www.pipernetworks.com/atp-overlay/ (last visited May 22, 2025).


      35.    Piper uses its Rail Positioning System (“RPS”) in its ATP-O solution.


      36.    In addition to offering infringing systems to the MBTA, Metrom

believes, or believes it will likely have evidentiary support after a reasonable

opportunity for discovery, that Piper has offered infringing systems to other transit

agencies or rail operators.


      37.    Piper’s RPS uses UWB radio ranging to determine the precise location

of trains. There are two UWB radio types used in RPS: carborne devices called

“tags” and wayside devices called “anchors.”


      38.    Piper represents that the figure below is Piper’s comprehensive diagram

of the RPS components and their integration with CBTC and Data Communication

Systems (“DCS”) equipment. Piper represents that tags are installed in each unit of



                                         10
     Case 1:25-cv-11446-ADB      Document 2     Filed 05/21/25   Page 11 of 35




the train. The train is represented in a multiunit configuration—A1/B1/B2/A2—with

UWB communication occurring in the A1/A2 cars via the red tags shown at each

corner. See Ex. C (“Piper Signal Modernization Whitepaper”) at pp. 5-6.




      39.   Piper represents that the interaction between Piper wayside anchors

mounted on the wayside and Piper tags installed on the vehicle facilitates the

geolocation of the train. Piper represents that these interactions use UWB signals.

Piper represents that the distance is measured between anchors and tags using a

calculation based on the Time-of-Arrival of the UWB radio pulse. Piper represents

that Piper’s navigational computers called tag controllers use the ranging data, the


                                        11
      Case 1:25-cv-11446-ADB     Document 2     Filed 05/21/25   Page 12 of 35




known positions of the anchors, and the database of the mathematical model of the

track to compute the train’s location. Piper represents that the tag controller then

produces a UDP packet, formatted to meet CBTC requirements, and injects the

positioning and speed data into the Onboard Controller Unit (“OBCU”).


      40.    Piper represents that the use cases for its RPS and ATP-O include

overspeed protection and brake assurance.


      41.    Piper also represents that its RPS and ATP-O solutions allows for

emergency braking functionality that can be activated in response to breach of

several protection rules.


                                      MBTA

      42.    The MBTA provides subway, bus, commuter rail, ferry, and paratransit

service to eastern Massachusetts and parts of Rhode Island. See How to Ride the

MBTA: The Basics, Mass. Bay Transp. Auth., https://www.mbta.com/about/how-to-

ride-the-mbta-the-basics (last visited May 22, 2025).


      43.    The MBTA has the power to “sue and be sued in law and equity and to

prosecute and defend all actions relating to its property and affairs.” Mass. Gen.

Laws Ch. 161A, § 2.




                                        12
     Case 1:25-cv-11446-ADB      Document 2       Filed 05/21/25    Page 13 of 35




      44.    The subway lines include the Red, Orange, Blue, and Green lines that

provide connections to and from Boston and surrounding cities, including

Cambridge, Newton, Revere, and Quincy. How to Ride the MBTA: The Basics,

Mass. Bay Transp. Auth., https://www.mbta.com/about/how-to-ride-the-mbta-the-

basics (last visited May 22, 2025).


      45.    The Green Line is a light rail system including both above ground and

tunnel service and has four branches (B, C, D, and E lines). See Subway, Mass. Bay

Transp. Auth., https://www.mbta.com/schedules/subway (last visited May 22,

2025).


      46.    On April 3, 2014, the MBTA issued an invitation for proposal for a

prototype demonstration of a light rail collision avoidance system. See Ex. D (“RFP

No. 57-14.”).


      47.    Metrom    submitted      a   confidential   proposal   and   successfully

demonstrated certain components of a collision avoidance system for the MBTA.


      48.    On October 16, 2016, the MBTA issued a request for proposals, RFP

24-16, for a Green Line Train Protection System, the 24-16 GLTPS. Metrom

believes, or believes it will likely have evidentiary support after a reasonable

opportunity for discovery, that RFP 24-16 was issued along with Technical

Specification VE-16-045.

                                          13
      Case 1:25-cv-11446-ADB     Document 2        Filed 05/21/25   Page 14 of 35




      49.    Subsequently, the MBTA issued several addendums to RFP 24-16. On

January 18, 2018, the MBTA issued amendment 8 to RFP 24-16. See Ex. E (“RFP

24-16, January 8, 2018, Amendment 8”). Concomitantly, the MBTA also issued

Addendum 8 to Technical Specification VE-16-045. See Ex. F (“VE-16-045,

Addendum 8 – January 8, 2018”).


      50.    Metrom/Parsons and BBR Verkehrstechnik/United Rail were among

the bidders for 24-16 GLTPS. The bid submissions were confidential. BBR

Verkehrstechnik was awarded the project. See Railway Age Staff, MBTA Tabs BBR,

United Rail for Green Line Protection System, Ry. Age (July 5, 2017),

https://www.railwayage.com/news/mbta-tabs-bbr-united-rail-for-green-line-

protection-system. After many delays, the MBTA cancelled the project because, on

information and belief, BBR was unable to deliver on the contract requirements with

BBR’s alternative to Metrom’s patented technology. See Gayla Cawley, Green Line

Anti-Collision System Won’t Be Done Until 2025, Bos. Herald (Jan. 20, 2023),

https://www.bostonherald.com/2023/01/19/old-green-line-trains-hinder-mbta-

efforts-to-install-crash-prevention-technology/.


      51.    On or around June 7, 2024, the MBTA issued a request for proposals

soliciting bids for a stand-alone, non-vital overlay system to provide a Green Line

Train Protection System (“GLTPS”). Ex G (“RFP NO. 80F-24”) at p. 10. The



                                         14
     Case 1:25-cv-11446-ADB      Document 2     Filed 05/21/25   Page 15 of 35




primary functions of this system are to prevent collisions between trains and to stop

Green Line Vehicles before they pass a Red Signal. Id.


      52.    The MBTA required that the proposed GLTPS comply with Technical

Specification VE-24-056 (“Technical Specifications” or “Specifications” or “TS”)

that the MBTA published. Id.


      53.    The Technical Specifications, (Ex. H), and all attachments were posted

with the RFP on the Commonwealth of Massachusetts’ COMMBUYS site,

www.commbuys.com. Id. at p. 85.


      54.    The bidder awarded the contract (the “Contractor”) for the GLTPS is

required to provide Carborne, Wayside, and Back-Office equipment for the GLTPS.

Ex. H (“Technical Specification VE-24-056”) at §1.1.7.


      55.    The MBTA requires the Contractor to design the GLTPS and manage,

integrate, and install Carborne kits and back-office equipment. Ex. G at p. 10.


      56.    The MBTA also requires the Contractor to manage and integrate

wayside equipment and oversee the installation and commissioning of the Wayside

equipment by a third-party contractor. Id.


      57.    Bid submissions were confidential. Upon information and belief, on

August 7, 2024, Piper Networks responded to RFP 80F-24 with its bid for the


                                         15
      Case 1:25-cv-11446-ADB       Document 2    Filed 05/21/25   Page 16 of 35




GLTPS, hereinafter the “Piper GLTPS.” See Ex. I (“Transition Planning

Presentation,” (“TPP”)) at p. 6.


      58.    Upon information and belief, sometime in October 2024, the MBTA

Executive Team recommended that Piper Networks progress to “Design &

Production Readiness” phase with its Piper GLTPS. See id.


      59.    Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery, that the Piper GLTPS is a UWB-based

radio communication-based system utilizing carborne and wayside equipment to

determine train position to enforce operating speed listed in the MBTA database,

provide train-to-train communication to detect impending collisions and determine

status of upcoming signal to prevent red signal overruns. See id. at pp. 4 and 5.


      60.    Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery, that the Piper GLTPS is materially

similar to its Rail Positioning System (RPS) as used in its ATP-O solution. See ¶¶34-

35, supra.


      61.    The “Design & Production Readiness” phase requires that the

Contractor demonstrate that the proposed GLTPS fulfill the primary functions. See

Ex. G at p. 11.




                                         16
      Case 1:25-cv-11446-ADB        Document 2    Filed 05/21/25   Page 17 of 35




       62.       The MBTA sought the approval of its Board of Directors to award RFP

80F-24 Green Line Train Protection System contract to Piper Networks, Inc. subject

to a successful “Design & Production Readiness Demonstration” for $112,529,564.

Ex. I at p. 9.


       63.       Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery, that the Piper GLTPS fulfills the

primary functions as specified in the Technical Specifications. Specifically, Piper

Networks made and used the Piper GLTPS on the Westbound track between

Medford/Tufts to Haymarket. See id. at p. 4.


       64.       Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery, that the Piper GLTPS includes tags

mounted in vehicles, anchors located along the track and tag controllers. See ¶¶36-

41, supra.


       65.       Upon information and belief, the total budget for the GLTPS is about

$219 million. See Ex. I at p. 8. Of this total, approximately $112 million is allocated

for materials and services to be provided by Piper Networks. See id.


       66.       On or around February 26, 2025, the MBTA board approved a $113

million contract with Piper Networks to deliver its GLTPS. See, e.g., James Rojas,

‘GLTPS’: MBTA to Install Crash-Prevention Technology on Green Line, WBZ

                                           17
      Case 1:25-cv-11446-ADB     Document 2     Filed 05/21/25   Page 18 of 35




News Radio 1030 (Feb. 26, 2025), https://wbznewsradio.iheart.com/content/gltps-

mbta-to-install-crash-prevention-technology-on-green-line/.


      67.    On information and belief, Piper will manufacture, furnish all labor,

management, materials, tools, services, parts, data, systems, equipment, other items

and incidentals which are necessary to complete the Work including additional

functionality described in RFP 80F-24. See Ex. I at p. 9.


      68.    Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery, that Defendants Piper Networks and

the MBTA are coordinating the installation and maintenance of the Piper GLTPS.


  COUNT I – PATENT INFRINGEMENT, U.S. PATENT NO. 9,731,738 –
                      ALL DEFENDANTS

      69.    The allegations in the preceding paragraphs are incorporated herein.


      70.    This claim is brought under 35 U.S.C. § 281 and the court has original

and exclusive jurisdiction under 28 U.S.C. § 1338.


      71.    Metrom is the owner of duly issued U.S. Patent No. 9,731,738 (“the

‘738 patent”) (Ex. B) titled “Rail Vehicle Signal Enforcement and Separation

Control” and has been the owner at all times material to this claim.




                                         18
      Case 1:25-cv-11446-ADB       Document 2      Filed 05/21/25    Page 19 of 35




      72.    Defendant Piper has long known of the ‘738 patent and its applicability

to Piper’s system, having received prior notice of the ‘738 patent and Piper’s alleged

infringement as early as 2019, and also by being involved in prior failed efforts to

invalidate the ‘738 patent.


      73.    Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery, that the MBTA was previously aware

of the ‘738 patent and its applicability to the Green Line train protection project.,

having received notice of the ‘738 patent and its applicability to the system at least

through Metrom’s prior bid for the project.


      74.    Where implemented on the MBTA Green Line, the Piper GLTPS will

infringe at least one claim of the ‘738 patent, either literally or by equivalence, either

alone or as installed in the MBTA system. The following table recites each limitation

of at least one claim and the corresponding response in the accused system:


 Claims 1-8, 10,
  12-14 of the                              Defendants’ System
  ’738 patent
 1. A system for     The GLTPS as specified by the MBTA is a system for
 evaluating          evaluating vehicle operation compliance. Specifically, the
 vehicle operation   MBTA specifies the GLTPS as “a stand-alone, non-vital
 compliance,         overlay system with the primary functions of (i) Stopping
 wherein the         Green Line Vehicles before they pass a Red Signal (or other
 system              Stop signal); (ii) Speed enforcement of Green Line Vehicles to
 comprises:          authorized speed limits; (iii) preventing train-to-train
                     collisions on tracks used for passenger service; and (iv)

                                           19
   Case 1:25-cv-11446-ADB      Document 2     Filed 05/21/25   Page 20 of 35




Claims 1-8, 10,
 12-14 of the                          Defendants’ System
 ’738 patent
                  Preventing incursions into roadway work zones.” Ex. H at
                  §1.1.3.

                  The GLTPS consists of Carborne equipment, Wayside
                  equipment, and Back-Office equipment. Ex. H at §2.1.9.

                  If the Carborne equipment mounted in the train car receives
                  communication from the Wayside equipment that the train is
                  approaching a STOP aspect, the Carborne equipment shall
                  request a STOP, if the Operator does not initiate braking in
                  sufficient time to ensure the train is brought to a complete stop
                  prior to passing the STOP aspect. Ex. H at §2.2.6 (emphasis
                  added). Thus, the GLTPS evaluates vehicle operation
                  compliance.

                  Piper was awarded the contract to implement the GLTPS as
                  specified in the Technical Specifications. See Ex. I at p. 6.

                  Metrom believes, or believes it will likely have evidentiary
                  support after a reasonable opportunity for discovery, that Piper
                  has implemented the Piper GLTPS on the MBTA Green Line
                  as specified in the Technical Specification as part of the
                  “Design & Production Readiness” and will implement the
                  Piper GLTPS along the entire Green Line and the Type 7, 8, 9
                  and 10 vehicles of the Green Line railcars. See Ex. I at pp. 6-
                  9.

                  Specifically, the Piper GLTPS is a stand-alone, non-vital
                  overlay system with the primary functions of (i) Stopping
                  Green Line Vehicles before they pass a Red Signal (or other
                  Stop signal); (ii) Speed enforcement of Green Line Vehicles to
                  authorized speed limits; (iii) preventing train-to-train
                  collisions on tracks used for passenger service. Compare Ex. I
                  at p. 6, with Ex. H at §1.1.3.




                                       20
     Case 1:25-cv-11446-ADB      Document 2      Filed 05/21/25    Page 21 of 35




Claims 1-8, 10,
 12-14 of the                             Defendants’ System
 ’738 patent
                    Accordingly, the Piper GLTPS is a system for evaluating
                    vehicle operation compliance.
a control signal    The GLTPS specified by the MBTA Technical Specifications
interface           includes Wayside equipment. Ex. H at § 4 (“Wayside
subsystem; and      Requirements.”). The Wayside equipment interfaces with the
                    existing signal lighting circuits and is a control signal interface
                    system. Ex. H at § 4.1.2 (“The Wayside equipment shall not
                    compromise the safety or reliability of the existing signal
                    system in any way.”).

                    Metrom believes, or believes it will likely have evidentiary
                    support after a reasonable opportunity for discovery, that the
                    Piper GLTPS includes a component that meets the Wayside
                    equipment requirements as specified by the MBTA Technical
                    Specifications. See Ex. I at p. 6.

                    Metrom believes, or believes it will likely have evidentiary
                    support after a reasonable opportunity for discovery, that Piper
                    Networks refers to the Wayside equipment as an Anchor and
                    the Anchor interfaces with signal equipment. See Ex. I at p. 7.
a vehicle-          The GLTPS specified by the MBTA Technical Specifications
mounted             includes Carborne equipment that is capable of being mounted
subsystem           in the Green Line vehicles. See Ex. H at § 3 (“Carborne
configured to:      Requirements.”).

                    Metrom believes, or believes it will likely have evidentiary
                    support after a reasonable opportunity for discovery, that the
                    Piper GLTPS includes a component that meets the Carborne
                    equipment requirements as specified by the MBTA Technical
                    Specifications. See Ex. I at p. 6.


a. communicate      The MBTA requires that “the GLTPS shall monitor all existing
   with the         Wayside automatic block (ABS), interlocking (controlled
   control signal
   interface


                                         21
    Case 1:25-cv-11446-ADB       Document 2    Filed 05/21/25   Page 22 of 35




Claims 1-8, 10,
 12-14 of the                           Defendants’ System
 ’738 patent
   subsystem to     and noncontrolled) and station signals on the Green Line” (Ex.
   receive          H at § 2.2.1) and that “the GLTPS shall communicate the
   information      displayed signal aspects of the monitored Wayside signal to
   corresponding    approaching trains.” Ex. H at §2.2.2.
   to a status of
   a control        The signal aspect can be “YELLOW,” GREEN” and “RED”
   signal;          which corresponds to the status of the control signal. Ex. H at
                    § 4.3.2.

                    “RED” indicates STOP, and then proceed after one minute at
                    restricted speed of not greater than 10 MPH to the next signal.
                    Id.

                    The carborne unit, the vehicle-mounted subsystem, is required
                    to receive communication from the Wayside that the train is
                    approaching a STOP aspect. Ex. H at § 2.2.5.

                  Metrom believes, or believes it will likely have evidentiary
                  support after a reasonable opportunity for discovery, that the
                  Piper GLTPS carborne equipment, the vehicle-mounted
                  subsystem, communicates with the Piper GLTPS Wayside
                  equipment, the control signal interface subsystem, to receive
                  information corresponding to a status of a control signal, as
                  specified by the MBTA Technical Specifications. See Ex. I at
                  p. 6.
b. determine a    The MBTA requires that “[i]f the Carborne system receives
   rule for       communication from the Wayside that the train is approaching
   behavior of a a STOP aspect, the Carborne equipment shall notify the
   vehicle        operator of an upcoming STOP condition via visual and
   according to   audible alarms, and monitor the position of the train with
   the            respect to distance from the STOP (distances and timing
   information    characteristics to be approved by the MBTA as
   corresponding part of the SFD).” Ex. H at §2.2.5.
   to the status
   of the control “If the Operator does not initiate braking in sufficient time to
   signal; and    ensure the train is brought to a complete stop prior to passing


                                        22
    Case 1:25-cv-11446-ADB       Document 2      Filed 05/21/25   Page 23 of 35




Claims 1-8, 10,
 12-14 of the                            Defendants’ System
 ’738 patent
                    the STOP aspect, the Carborne system shall request a STOP
                    and continue to annunciate the audible and visual alarms to
                    indicate this state to the Operator.” Ex. H at §2.2.6.

                    Accordingly, the GLTPS designed in accordance with the
                    Technical Specification determines a rule for behavior, i.e.,
                    initiate braking, according to the information corresponding to
                    the status of the control signal, i.e., STOP.

                    Metrom believes, or believes it will likely have evidentiary
                    support after a reasonable opportunity for discovery, that the
                    Piper GLTPS determines a rule for behavior of a vehicle
                    according to the information corresponding to the status of the
                    control signal, at least because it operates as specified by the
                    MBTA Technical Specifications. See also Ex. I at p. 3 (Phase
                    1 provides the Warning System and Phase 2 automatically
                    slows or stops trains if warnings ignored).
c. observe          The MBTA requires that “[i]f the Operator does not initiate
   operation of     braking in sufficient time to ensure the train is brought to a
   the vehicle to   complete stop prior to passing the STOP aspect, the Carborne
   evaluate         system shall request a STOP and continue to annunciate the
   compliance       audible and visual alarms to indicate this state to the Operator.”
   with the rule,   Ex. H at §2.2.6.

                    Accordingly, the GLTPS designed in accordance with the
                    Technical Specification observes operation of the vehicle to
                    evaluate compliance with the rule, i.e., did the Operator initate
                    braking.
wherein the         The MBTA Technical Specification requires that the GLTPS
control signal      provide reliable methods and technologies of speed sensing
interface           and localization to meet the functional requirements of this
subsystem           specification by using, for example, UWB. See Ex. H at §§
comprises an        3.5.6.1, 3.5.6.2.
ultra-wideband
(UWB)               Metrom believes, or believes it will likely have evidentiary
                    support after a reasonable opportunity for discovery, that the


                                         23
     Case 1:25-cv-11446-ADB       Document 2     Filed 05/21/25   Page 24 of 35




Claims 1-8, 10,
 12-14 of the                             Defendants’ System
 ’738 patent
communications       Piper GLTPS Wayside and Carborne equipment comprises an
component;           ultra-wideband (UWB) communications component. Ex. I at
                     p. 4 (“Piper will deploy UWB (Ultra Wide Band) for speed and
the vehicle-         collision warnings.”).
mounted
subsystem            Metrom believes, or believes it will likely have evidentiary
comprises an         support after a reasonable opportunity for discovery, that the
ultrawideband        Piper GLTPS Wayside and Carborne equipment communicate
(UWB)                UWB signals carrying data pertinent to evaluating vehicle
communications       operation compliance the data comprising at least one of: a
component; and       unique ID associated with the vehicle-mounted subsystem, a
                     signal indication, a track number, a track direction, speed, and
the vehicle          direction of travel. See Ex. I at p. 4.
mounted
subsystem and
the control signal
interface
subsystem are
further
configured to
communicate
UWB signals
carrying data
pertinent to
evaluating
vehicle operation
compliance, the
data comprising
at least one of: a
unique ID
associated with
the vehicle-
mounted
subsystem, a
signal indication,
a track number, a


                                         24
     Case 1:25-cv-11446-ADB       Document 2     Filed 05/21/25   Page 25 of 35




 Claims 1-8, 10,
  12-14 of the                           Defendants’ System
  ’738 patent
track direction,
speed, and
direction of
travel.


      75.    Defendant Piper directly infringes the claims by offering and selling the

Piper GLTPS to the MBTA. Defendant Piper directly infringes the claims by making

and using the Piper GLTPS, as least as part of the “Design and Production

Readiness” demonstration. Defendant Piper indirectly infringes by actively and

knowingly aiding and abetting the MBTA in the operation of the Piper GLTPS

System with the intent to encourage the MBTA to directly infringe the ‘738 patent,

including by assisting the MBTA in developing the Piper GLTPS system. Further,

Metrom believes, or believes it will likely have evidentiary support after a

reasonable opportunity for discovery that Piper has instructed the MBTA as to its

use. Metrom believes, or believes it will likely have evidentiary support after a

reasonable opportunity for discovery that the equipment supplied by Piper, as

configured by Piper, has no substantial non-infringing use. Further, Piper willfully

infringes the ‘738 based on its prior knowledge of the patent and its infringement.


      76.    The MBTA is a direct infringer by its use of the Piper GLTPS System.




                                         25
      Case 1:25-cv-11446-ADB      Document 2     Filed 05/21/25   Page 26 of 35




      77.    Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery that the MBTA willfully infringes the

‘738 patent, at least based on its prior knowledge of the patent and its infringement.


      78.    A reasonable opportunity for discovery is likely to show that Piper is

offering its infringing system for sale to other transit agencies and using the MBTA

project as a reference to leverage additional sales.


      79.    Defendant Piper is also a contributory infringer, because the

components sold by Piper for installation in the MBTA GLTPS are customized for

the MBTA’s unique requirements, are not staple articles of commerce, and have no

substantial non-infringing use. A reasonable opportunity for discovery will show

that these customized components are material parts of the invention of the ‘738

patent and Piper sells them despite knowing of the ‘738 patent and that use of the

components infringes the ‘738 patent.


      80.    Metrom is entitled to damages adequate to compensate Metrom for

Defendants’ infringement, as provided by 35 U.S.C. § 284 and in no event less than

a reasonable royalty.


  COUNT II - PATENT INFRINGEMENT, U.S. PATENT NO. 9,043,131 –
                      ALL DEFENDANTS

      81.    The allegations in the preceding paragraphs are incorporated herein.


                                          26
      Case 1:25-cv-11446-ADB      Document 2     Filed 05/21/25   Page 27 of 35




      82.    This claim is brought under 35 U.S.C. § 281 and the court has original

and exclusive jurisdiction under 35 U.S.C. § 1338.


      83.    Metrom is the owner of duly issued U.S. Patent No. 9,043,131 (“the

‘131 patent”) (Ex. A) titled “Collision Avoidance System for Rail Line Vehicles”

and has been the owner at all times material to this claim.


      84.    Defendant Piper has long known of the ‘131 patent and its applicability

to Piper’s system, having received prior notice of the ‘131 patent and Piper’s alleged

infringement as early as 2019.


      85.    Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery, that the MBTA was previously aware

of the ‘131 patent and its applicability to the Green Line train protection project.,

having received notice of the ‘131 patent and its applicability to the system at least

through Metrom’s prior bid for the project.


      86.    Piper challenged the validity of the claims of the ’131 patent in an inter

partes review proceeding before the Patent Trial and Appeal Board (“PTAB”)

tribunal of the United States Patent and Trademark Office (“USPTO”). The PTAB

confirmed the patentability of claims 17-20 of the ’131 patent (the “Confirmed

Claims”).




                                         27
     Case 1:25-cv-11446-ADB        Document 2     Filed 05/21/25   Page 28 of 35




      87.    Where implemented on the MBTA Green Line, Metrom believes, or

believes it will likely have evidentiary support after a reasonable opportunity for

discovery, that the Piper GLTPS will infringe at least one Confirmed Claim of the

’131 patent, either literally or by equivalence, either alone or as installed in the

MBTA system. The following table recites each limitation of at least one claim and

the corresponding response in the accused system:


 Claim 17 of the
                                           Defendants’ System
   ’131 patent
A rail vehicle        The GLTPS as specified by the MBTA requires Carborne
module                equipment. See Ex. H at § 2.1.9. The Carborne equipment
mountable on a        boxes are specified to “be mounted,” (Ex. H at § 2.3.2), in the
first rail vehicle,   “(Type 7, Type 8, and Type 9) and planned (Type 10) Green
the module            Line vehicle types.” Ex. H at §1.1.6; see also Ex. H at §3.5.2.1
comprising:           (“Interior equipment enclosures provided by the contractor and
                      mounted inside the vehicle shall meet the requirements of IEC
                      60529.”).

                      Piper was awarded the contract to implement GLTPS as
                      specified in the Technical Specifications. See, e.g., Ex. I at p.
                      6.

                      Metrom believes, or believes it will likely have evidentiary
                      support after a reasonable opportunity for discovery, that a
                      device materially similar to the Piper tag meets the
                      requirements of the MBTA specified Carborne equipment.

                      Accordingly, the Piper GLTPS includes a rail vehicle module
                      mountable on a first rail vehicle, hereinafter Piper GLTPS rail
                      vehicle module.




                                           28
     Case 1:25-cv-11446-ADB     Document 2      Filed 05/21/25    Page 29 of 35




Claim 17 of the
                                         Defendants’ System
  ’131 patent
A transponder     Metrom believes, or believes it will likely have evidentiary
sensor module     support after a reasonable opportunity for discovery, that the
comprising:       Piper GLTPS rail vehicle module comprises a transponder
                  sensor module. See Ex. I at p. 6.
a radio           The GLTPS as specified by the MBTA requires that “[t]he
communication     GLTPS shall include a Collision Warning function to provide
unit operable to audible and visual warnings to the Operator of an impending
employ time or    collision when allowable separation distances between trains
flight techniques are violated” (Ex. H at § 2.2.11) and “a Collision Avoidance
detect a          function to monitor the Collision Warning status and intervene
separation        if necessary in the event that allowable separation distances are
distance between violated.” Ex. H at §2.2.12.
the first rail
vehicle and a
second rail       Metrom believes, or believes it will likely have evidentiary
vehicle;          support after a reasonable opportunity for discovery, that the
                  transponder sensor module of the Piper GLTPS includes a
                  radio communication unit operable to employ time or flight
                  techniques detect a separation distance between the first rail
                  vehicle and a second rail vehicle. See Ex. I at p. 6.

                   For example, Piper tags found in its RPS “use of Time of Flight
                   (ToF) calculations to determine precise distances.” Ex. C at p.
                   8; see also id. at p. 11 (“Because the RPS knows the absolute
                   position of the anchors, the time-of-flight calculations made in
                   real time position the train on the center line spline of the track
                   with centimeter level accuracy.”).

a first wireless   Metrom believes, or believes it will likely have evidentiary
communications     support after a reasonable opportunity for discovery, that the
antenna operable   transponder sensor module of the Piper GLTPS includes a first
to send and        wireless communications antenna operable to send and receive
receive     data   data representing the separation distance over the air. See Ex.
representing the   I at p. 6.
separation
                   For example, Piper tags found in its RPS “use of Time of Flight
                   (ToF) calculations to determine precise distances.” Ex. C at p.


                                        29
     Case 1:25-cv-11446-ADB       Document 2    Filed 05/21/25   Page 30 of 35




Claim 17 of the
                                         Defendants’ System
  ’131 patent
distance over the 8; see also id., at p. 11 (“Because the RPS knows the absolute
air;              position of the anchors, the time-of-flight calculations made in
                  real time position the train on the center line spline of the track
                  with centimeter level accuracy.”). The Piper tags include UWB
                  antennas and a UWB radio. Ex. C at p. 7.


a           global   Metrom believes, or believes it will likely have evidentiary
positioning          support after a reasonable opportunity for discovery, that the
system        unit   transponder sensor module of the Piper GLTPS includes a
operable        to   global positioning system unit operable to receive information
receive              from one or more satellites to determine an absolute position
information from     of the first rail vehicle. See Ex. I at pp. 4, 6.
one or more
satellites      to
determine       an
absolute position
of the first rail
vehicle;

a          control   Metrom believes, or believes it will likely have evidentiary
electronics          support after a reasonable opportunity for discovery, that the
module               rail vehicle module of the Piper GLTPS includes a control
comprising       a   electronics module comprising a processor in communication
processor       in   with the transponder sensor module.
communication
with           the   For example, the Piper tags used in its RPS include a tag
transponder          controller. See Ex. C at p. 7.
sensor module;
and

a user interface     Section 2.2.24 of the MBTA’s specifications for the GLTPS
module including     requires that “[t]he GLTPS shall provide means to display the
a user interface     following information to the vehicle Operator” – “The
operable      to     enforced speed limit; this is the speed that is currently being
provide      rail    enforced by the GLTPS” and “The supervised train speed; this
vehicle              is the current train speed acquired or calculated by the


                                         30
     Case 1:25-cv-11446-ADB       Document 2    Filed 05/21/25   Page 31 of 35




 Claim 17 of the
                                         Defendants’ System
   ’131 patent
information to a     GLTPS.” Ex. H at § 2.2.24.
vehicle operator
and to receive       Section 3.3.4.3 of the GLTPS as specified by the MBTA
input from the       requires provision of “Other Switches or Soft Keys For
vehicle operator,    Operator input of information such as degraded brake
                     conditions or train
                     length, as required by Section 2.” Ex. H at §3.3.4.3.

                     Metrom believes, or believes it will likely have evidentiary
                     support after a reasonable opportunity for discovery, that the
                     rail vehicle module of the Piper GLTPS includes a user
                     interface module including a user interface operable to provide
                     rail vehicle information to a vehicle operator and to receive
                     input from the vehicle operator.

wherein the rail     The GLTPS as specified by the MBTA requires that:
vehicle module       “[t]he Carborne equipment shall be able to record internal
communicates         signals and events and those acquired from other Carborne
with a second rail   systems.” Ex. H at §3.10.1.
vehicle module
mountable on the     Further, “[t]he GLTPS shall include a Collision Warning
second vehicle to    function to provide audible and visual warnings to the Operator
detect          a    of an impending collision when allowable separation distances
separation           between trains are violated.” Ex. H at §2.2.11.
distance between
the first rail       Metrom believes, or believes it will likely have evidentiary
vehicle and the      support after a reasonable opportunity for discovery, that the
second vehicle.      rail vehicle module of the Piper GLTPS communicates with a
                     second rail vehicle module mountable on the second vehicle to
                     detect a separation distance between the first rail vehicle and
                     the second vehicle.


      88.   Defendant Piper directly infringes the claims by offering and selling the

Piper GLTPS to the MBTA. Defendant Piper directly infringes the claims by making



                                         31
      Case 1:25-cv-11446-ADB       Document 2     Filed 05/21/25   Page 32 of 35




and using the Piper GLTPS, as least as part of the “Design and Production

Readiness” demonstration. Defendant Piper indirectly infringes by actively and

knowingly aiding and abetting the MBTA in the operation of the Piper GLTPS

System with the intent to encourage the MBTA to directly infringe the ‘131 patent,

including by assisting the MBTA in the development of the Piper GLTPS system.

Metrom believes, or believes it will likely have evidentiary support after a

reasonable opportunity for discovery that Piper has instructed the MBTA as to its

use. Further, Piper willfully infringes the ‘131 patent based on its prior knowledge

of the patent and its infringement.


      89.    The MBTA is a direct infringer by its use of the Piper GLTPS System.


      90.    Metrom believes, or believes it will likely have evidentiary support

after a reasonable opportunity for discovery that the MBTA willfully infringes the

‘131 patent, at least based on its prior knowledge of the patent and its infringement.


      91.    A reasonable opportunity for discovery is likely to show that Defendant

Piper is offering its infringing system for sale to other transit agencies and using the

accused system as a reference design.


      92.    Defendant Piper is also a contributory infringer, because the

components sold by Piper Networks for installation in the MBTA GLTPS are

customized for the MBTA’s unique requirements, are not staple articles of

                                          32
      Case 1:25-cv-11446-ADB     Document 2     Filed 05/21/25     Page 33 of 35




commerce, and have no substantial non-infringing use. A reasonable opportunity for

discovery will show that these customized components are material parts of the

invention of the ‘131 patent and Piper sells them with despite knowing of the ‘131

patent and that use of the components infringes the ‘131 patent.


      93.    Metrom is entitled to damages adequate to compensate Metrom for

Defendants’ infringement, as provided by 35 U.S.C. § 284 and in no event less than

a reasonable royalty.


               JURY DEMANDED UNDER FED. R. CIV. P. 38

      Metrom demands a jury on all issues so triable.


                            PRAYER FOR RELIEF

      Metrom requests the following relief:

      1.     A preliminary injunction preliminarily enjoining Defendants, their

principals, officers, directors, employees, agents, successors, assigns, and any

persons in active concert with them from proceeding with the installation of the

infringing GLTPS systems;


      2.     A judgment that Defendants have infringed one or more claims of the

asserted patents;


      3.     A judgment that Defendants’ infringement was willful;



                                        33
     Case 1:25-cv-11446-ADB      Document 2     Filed 05/21/25   Page 34 of 35




      4.    An accounting for damages, including all compensatory and punitive

damages as may be allowed by statute or law, including under 35 U.S.C. § 284;


      5.    A judgment and order requiring Defendants to pay Plaintiff its

damages, costs, expenses, and prejudgment and post-judgment interest for

Defendants’ infringement of the asserted patents;


      6.    An award to Plaintiff for enhanced damages resulting from Defendants’

deliberate, willful, and bad faith conduct, as provided under 35 U.S.C. § 284;


      7.    An award to Plaintiff of its reasonable attorney fees, as provided under

35 U.S.C. § 285;


      8.    A permanent injunction enjoining Defendants, their principals, officers,

directors, employees, agents, successors, assigns, and any persons in active concert

with them from infringing, directly or indirectly, the asserted patents during their

remaining term, including immediately ceasing all use, marketing, offers for sale,

sales, and support of systems covered by the patents, under 35 U.S.C. § 283;


      9.    An order requiring Defendants to notify any United States transit

agency to which Defendants submit a bid that includes UWB train control equipment

of this Court’s order and injunctions, and to file a quarterly report with the Court

certifying compliance with the Court’s injunction.



                                        34
     Case 1:25-cv-11446-ADB    Document 2    Filed 05/21/25   Page 35 of 35




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                                      35
